                         Case 1:21-mj-00148-AJ Document 1 Filed 06/08/21 Page 1 of 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        District ofDistrict
                                                     __________     New Hampshire
                                                                            of __________

                 In the Matter of the Search of                              )
                         (Briefly describe the property to be searched       )
                          or identify the person by name and address)        )              Case No. 21-mj- 148-01-AJ
INFORMATION ASSOCIATED WITH THE GOOGLE DRIVE ACCOUNT                         )
USERNAME MIKE.CLEMENCE@GMAIL.COM THAT IS STORED AT
PREMISES CONTROLLED BY GOOGLE LLC, 1600 AMPHITHEATRE
                                                                             )
PARKWAY, MOUNTAIN VIEW, CA 94043
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the             Northern               District of                 California               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔
               ’ evidence of a crime;
               ’ contraband, fruits of crime, or other items illegally possessed;
                 ’ property designed for use, intended for use, or used in committing a crime;
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 USC §2252(a)(4)(B)                     Possession of Child Pornography



          The application is based on these facts:
        Affidavit of Ronald Morin


          ✔
          ’ Continued on the attached sheet.
           ’ Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                       /s/ Ronald Morin
                                                                                                      Applicant’s signature

                                                                                               Ronald Morin, Special Agent HSI
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
            Telephonic conference                     (specify reliable electronic means).


Date:           Jun 7, 2021
                                                                                                        Judge’s signature

City and state: Concord, New Hampshire                                            Andrea K. Johnstone, United States Magistrate Judge
                                                                                                     Printed name and title
